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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


                                               )
IN RE APPLICATION OF THE                       )
UNITED STATES OF AMERICA FOR                   )     CASE NO.       18-sw-6306-GPG
AN ORDER PURSUANT TO                           )
18 U.S.C. § 2703(d)                            )     Filed Under Restriction
                                               )


                         APPLICATION OF THE UNITED STATES
                     FOR AN ORDER PURSUANT TO 18 U.S.C. § 2703(d)

       The United States of America, moving by and through its undersigned counsel,

respectfully submits under restriction from public access this ex parte application for an Order

pursuant to 18 U.S.C. § 2703(d). The proposed Order would require GoDaddy.com, LLC, an

Internet Service Provider located in Scottsdale, AZ, to disclose certain records and other

information pertaining to the email domain account(s): bigoco.com. The records and other

information to be disclosed are described in Attachment A to the proposed Order. In support of

this application, the United States asserts:

                                     LEGAL BACKGROUND

       1.       GoDaddy.com, LLC is a provider of an electronic communications service, as

defined in 18 U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C.

§ 2711(2). Accordingly, the United States may use a court order issued under § 2703(d) to

require GoDaddy.com, LLC to disclose the items described in Part II of Attachment A, as these

records pertain to a subscriber of electronic communications service and/or a remote computing

service, and are not the contents of communications. See 18 U.S.C. § 2703(c)(2); 18 U.S.C.

§ 2703(c)(1).
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       2.      This Court has jurisdiction to issue the proposed Order because it is “a court of

competent jurisdiction,” as defined in 18 U.S.C. § 2711. See 18 U.S.C. § 2703(d). Specifically,

the Court is a district court of the United States that has jurisdiction over the offense being

investigated. See 18 U.S.C. § 2711(3)(A)(i).


       3.      A court order under § 2703(d) “shall issue only if the governmental entity offers

specific and articulable facts showing that there are reasonable grounds to believe that the

contents of a wire or electronic communication, or the records or other information sought, are

relevant and material to an ongoing criminal investigation.” 18 U.S.C. § 2703(d). Accordingly,

the next section of this application sets forth specific and articulable facts showing that there are

reasonable grounds to believe that the records and other information described in Part II of

Attachment A are relevant and material to an ongoing criminal investigation.

                                    THE RELEVANT FACTS

       4.      The United States is investigating a scheme to defraud. The investigation

concerns possible violations of, inter alia, 18 U.S.C. § 1343 (Fraud by wire).

       5.      By way of brief background, in December 2013, Cory Thompson and Kevin

Brooks entered into a business partnership to form and operate DACK Energy Services, LLC

(hereafter referred to as DACK). The primary function of the company was to provide

roustabout services (i.e. maintenance, welding, miscellaneous repairs, and labor) for well sites

owned by oil and gas companies in Colorado and surrounding states. DACK was registered as a

limited liability company in the state of Colorado, based in Grand Junction, Colorado, and

operated until approximately December 2015. During that time period Thompson served as the

operating partner: managing work production, hiring employees, procuring required vehicles and

equipment, and establishing contracts with oil and gas companies. He was responsible for the



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submission of completed work invoices and field tickets to DACK accounting. Thompson

submitted the invoices to Brooks, or to the DACK accountant, directly via email. Thompson

used the email address of cory@dackenergy.com. Brooks used the email address of

kbrooks@bigoco.com.

       6.      Through the investigation, it has been determined that Thompson submitted

numerous invoices to DACK for which no work was provided. Thompson did not send the

invoices to any of the oil and gas companies, requesting payment, but simply sent them to

Brooks (and the DACK accountant) as a means of appearing that work was being performed.

Furthermore in several instances, it was determined that not only was work not performed,

Thompson had failed to establish any sort of business relationship at all with those companies.

Received invoices were entered into the business accounting system as Accounts Receivables,

qualifying them as liquid assets, and making it appear the company was producing and growing.

However, only minimal work was performed, resulting in income that was not sufficient nor

sustainable. Only with the false invoicing and inflated production, was Thompson able to dupe

Brooks into believing that Thompson was performing as expected. Through this false and

fraudulent scheme, Thompson convinced Brooks to provide additional capital investing.

       7.      Thompson’s preferred means of communicating with Brooks was through email.

In addition to the submission of invoices via email, Thompson used email as a means to portray

his efforts to procure new contracts with oil and gas companies and to provide justification for

expenses and additional funding. His email communications included explanations and

descriptions of his alleged day-to-day work activities, to include extensive travel to Wyoming

and Texas. However, evidence shows that he was often not working as portrayed and not

traveling as claimed.




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       8.      Thompson received a lucrative salary as part of the business venture. He also

employed his adult son, Dylon, and his father, Larry. At least two of Dylon’s friends were hired

on by Thompson as employees, but were never required to perform work for DACK.

Thompson’s scheme included stringing Brooks along with fake work, all the while collecting his

salary—as well as the paychecks paid to his son and friends—and enjoying a lavish lifestyle.

Thompson purchased and enjoyed several luxuries, to include a ski boat, a pair of jet skis, and

high-end vehicles for all family members.

       9.      Thompson’s use of email communications was a means to carry out an elaborate

scheme to defraud Brooks and others. The transmission of email messages, generally through

different email exchange services and domain service providers, will likely confirm the use of

wire communications affecting interstate commerce.

                                     REQUEST FOR ORDER

       10.     The facts set forth in the previous section show that there are reasonable grounds

to believe that the records and other information described in Part II of Attachment A are

relevant and material to an ongoing criminal investigation. Specifically, these items will help the

United States to identify and locate the individual(s) who are responsible for the events described

above, and to determine the nature and scope of their activities. Accordingly, the United States

requests that GoDaddy.com, LLC be directed to produce all items described in Part II of

Attachment A to the proposed Order.

       11.     The United States further requests that the Order require GoDaddy.com, LLC not

to notify any person, including the subscribers or customers of the account(s) listed in Part I of

Attachment A, of the existence of the Order for a period of one year from the date of the Order.

See 18 U.S.C. § 2705(b). This Court has authority under 18 U.S.C. § 2705(b) to issue “an order




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commanding a provider of electronic communications service or remote computing service to

whom a warrant, subpoena, or court order is directed, for such period as the court deems

appropriate, not to notify any other person of the existence of the warrant, subpoena, or court

order.” Id. In this case, such an order would be appropriate because the requested Order relates

to an ongoing criminal investigation that is neither public nor known to all of the targets of the

investigation, and its disclosure may alert the targets to the ongoing investigation. Accordingly,

there is reason to believe that notification of the existence of the requested Order will seriously

jeopardize the investigation, including by giving targets an opportunity to flee or continue flight

from prosecution, destroy or tamper with evidence, change patterns of behavior, intimidate

potential witnesses, or endanger the life or physical safety of an individual. See 18 U.S.C.

§ 2705(b)(2), (3), (5). Indeed, Brooks filed a civil lawsuit against Thompson related to this

scheme. Thompson has failed to appear for those hearings and currently has a contempt warrant

for his arrest. The investigation, to date, shows that Thompson has taken steps to avoid

apprehension on that warrant and has fled to another state. Additionally, some of the evidence in

this investigation is stored electronically. If alerted to the investigation, the subjects under

investigation could destroy that evidence, including information saved to their personal

computers.

       12.     The United States further requests that the Court order that this case, namely the

application and any resulting order, be restricted from all public access until further order of the

Court. As explained above, these documents discuss an ongoing criminal investigation that is

neither public nor known to all of the targets of the investigation. Accordingly, there is good




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cause to restrict these documents from public access because their premature disclosure may

seriously jeopardize that investigation.

                                            Respectfully submitted,

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